Case 2:04-cv-O_2632-SHI\/|-dkv Document 31 Filed 04/22/05 Page 1 of 4 Page|D 48
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IN THE UNITED STATES DISTRICT COURT 5 m 2 2 3 _
FoR THE wEsTERN DISTRICT oF TENNESSE§ H' “ ' h * ‘1 ‘»

 

WESTERN DIVISION P|OEEHT Hl m mg 10
CLEFEK. U,S. Dl JT.
W.U. OF TN, l`v`lb.v\PHlS
JULIAN T, BOLTON,
Plaintiff,
v. NO.: 04-2632-MaV

COCHRAN, CHERRY, GIVENS &
SMITH - TN, LLP, a Tennessee
Limited Liability Partnership;
JOHNNIE L. COCHRAN, JR.;
SAMUEL A. CHERRY, J'R;

J. KEITH GIVENS; and JOCK M.
SMITH,

Defendants. ”

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Pursuant to wn`tten notice, a scheduling conference was held before the Honorable Diane K.
Vescovo on Thursday, April 21, 2605. Present Were Danny Richardson, counsel for Plaintiff, and
John J. Hef`|in III, counsel for Defendants. At the conference, the following dates were established

as the final dates for:

DEFENDANTS’ ANSWER: May 10, 2005
RULE 26(a)(1) INITIAL DISCLosUREs; May 10, 2005
JOINING PARTIES: nme 10, 2005
AMENDH~JG PLEADINGS; June 10, 2005
JNITIAL MoTIoNs To DIsMIss: July 15, 2005

This document entered on the docket s e@tziné:onépllence
with Rule 58 and/or 79(3) FRCP on ££" § @

Case 2:04-cv-02632-SHI\/|-dkv Document 31 Filed 04/22/05 Page 2 of 4 Page|D 49

COMPLETING ALL DISCOVERY: December 30, 2005
(a) DOCUMENT PRODUCTION,
INTERROGATORIES,
REQUESTS FOR ADMISSION: October 13, 2005
(b) DEPOSITIONS: Decernber 30, 2005

(c) EXPERT WITNESS DISCLOSURE (Rule 26):

(1) DIsCLosURE or PLAJNTIFFS’

RULE 26 EXPERT INFORMATION: October 14, 2005
(2) DISCLOSURE OF DEFENDANT’S
RULE 26 EXPERT INFORMATION: Novernber 25, 2005
(3) EXPERT ’WITNESS DEPOSITIONS: December 30, 2005
FILING DISPOSITIVE MOTIONS: ]anuary 31, 2006
OTHER RELEVANT MATTERS:

No depositions may be scheduled to occur after the discovery cutoff date. All written
discovery that reduires a response must be filed sufficiently in advance of the discovery cutoff date
to enable opposing counsel to respond by the time permitted by the Rules prior to that date.

Motions to compel discovery are to be filed and served by the discovery deadline or within
30 days of the default or the service of the response, answer, or objection which is the subject of the
motion, if the default occurs within 30 days of the discovery deadline, unless the time for filing of
such motion is extended for good cause shown, or the objection to the default, response, answer, or
objection shall be waived.

This case is set for a nonjury trial, and the trial is expected to last 3 to 4 days. The pretrial
order date, pretrial conference date, and trial date will be set by the presiding Judge. The parties

suggest that an appropriate trial date would be during April or May, 2006.

2

Case 2:04-cv-02632-SHI\/|-dkv Document 31 Filed 04/22/05 Page 3 of 4 Page|D 50

This case is not appropriate for ADR.

The parties are reminded that pursuant to Local Rule l l(a)(l)(A), all motions, except motions
pursuant to Fed. R. Civ. P. 12, 56, 59, and 60, shall be accompanied by a proposed order.

The opposing party may file a response to any motion filed in this matter. Neither party may
tile an additional reply, however, without leave of the Court. If a party believes that a reply is
necessary, it shall file a motion for leave to file a reply accompanied by a memorandum setting for
the reasons for which a reply is required

The parties have not consented to trial before the Magistrate Judge.

This Order has been entered after a consultation with trial counsel pursuant to notice. Absent

good cause shown, the scheduling dates set by this Order will not be modified or extended.

 

 

IT IS SO ORDERED.
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DIANE K. VESCOVO, United States Magistrate Judge
Date: M FT/, /'ZC’OS_
BY CoNsENT: /

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JC)HN D. RICHARDsoN, Attomey for Plaintirf

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JW.IN'IH, torney for Deferldant

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 31 in
case 2:04-CV-02632 was distributed by faX, mail, or direct printing on
April 26, 2005 to the parties listed.

ESSEE

 

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Honorable Samuel Mays
US DISTRICT COURT

